                                                                              KS
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                                                                                            Dec 7, 2021

                             UNITED STA TES DISTRICT CO URT
                             SOU THER N DISTRICT OF FLO R IDA
                      21-20590-CR-WILLIAMS/MCALILEY
                             CaseN o.
                                        18U.S.C.j1347
                                        18U.S.C.j982(a)(7)


   UM TED STATES O F AM ERICA

   VS.

   AR M A ND O V ALDES,

                 D efendant.



                                          G DICTM ENT

          The Grand Jury chargesthat:

                                   G ENER AL ALLEGA TIO NS

          A talltim es relevantto thislndictm ent:

                                      Com m ercialInsurance

          1.     United Healthcare (çiunited'') was a commercialinsurerwhich offered health
   insuranceto individualsthrough employer-sponsored group plans.

          2.     U nited w as a 'çhealth care benefitprogram ''as defined in Title 18,United States

   Code,Section24(b).
                 BlueCrossBlueShield(CCBlueCross'')wasacommercialinsurerwhich offered
   health insurance to individualsthrough em ployer-sponsored group plans.

          4.     Blue Cross was a ççhealth care benefit program ''as defned in Title 18,U nited

   StatesCode,Section24(b).
          5.     U nited and BlueCrosseach often m adepaym entsdirectly to health care providers,
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   rather than to the beneficiaries who received the health care benefits,item s,and selwices. This

   occurred when a provideraccepted assignm entofthe rightto paym entfrom abeneficiary.

                 To obtain paym entfrom United orBlue Cross fortreatm ent or servicesprovided

   to a beneficiary,health care providers had to subm it item ized claim fonus. The claim form s

   required certain important infonuation,including'
                                                   . (a) the beneficiary's name and Hea1th
   Insurance Claim Numberorotheridentification number;(b)adescription ofthehealth care
   benefit,item,orservicethatwasprovided orsuppliedtothebeneficiary;(c)thebillingcodes
   forthebenefit,item,orservice;(d)thedateuponwhichthebenefit,item,orservicewasprovided
   or supplied to the beneficiary;and- te)thenameofthereferringphysician orotherhealth care

   provider, as w ell as a unique identifying num ber, know n either as the Unique Physician

   Identification N um berorN ationalProviderldentifier.

                 W hen a provider subm itted a claim form to U nited or Blue Cross,the provider

   certified thatthecontentsofthe form w ere true,correct,com plete,and thattheform w asprepared

   in com pliance w ith the applicable law sand regulations concerning the subm ission ofhealth care

   claim s. The provideralso certitied thatthe services being billed w ere m edically necessary and

   w ere,in fact,provided asbilled.

                               The Defendantand R elated Entities

          8.     Gasiel M edical Services, Corp. (sçGasiel M edical Services'') was a Florida
   corporation located at8900 CoralW ay,Suite 203,M iam i,Florida.

          9.     UrgentCareC 11Corp.CGurgentCareC 11'3 wasaFloridacorporationlocatedat
   8900 Southw est24thstreet, Suite 2038 >M iam i,Florida.

                 DefendantA RM AN D o V AI,DES w asaresidentofM iam i-D adeCounty,Florida,

   and the beneficialownerand operatorofGasielM edicalServicesand U rgentCare C I1.
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                                          CO UN TS 1-10
                                        H eaIth C are Fraud
                                          (18U.S.C.j1347)
                 The GeneralA llegations section ofthis Indictm ent is re-alleged and incorporated

   by reference asiffully setforth herein.

          2.     From in oraround February 2015,and continuing through in oraround July 2021,

   in M iam i-D ade County,in the Southern DistrictofFlorida,and elsewhere,the defendant,

                                      ARM AN D O V ALDES,

   in connection w ith the delivery of and paym entforhealth care benefits,item s,and services,did

   know ingly and w illfully execute,and attemptto execute,a schem eand artificeto defraud a health

   care benefk program affecting com m erce,as defined by Title 18,U nited States Code, Section

   24(19,thatis,UnitedandBlueCross,andto obtain,bymeansofmateriallyfalseandfraudulent
   pretenses,representations,and prom ises,m oney and property ow ned by,and underthe custody

   and controlof,said health care benefk program .

                         PU RPO SE OF TH E SCH EM E AND M W IH CE

                 ltw asa purpose ofthe schem e and artifice forthe defendantand hisaccom plices

   tounlawfullyenrichthemselvesby,amongotherthings:(a)submittingandcausingthesubmission
   offalseandfraudulentclaimstohealth carebenefitprograms;(b)concealingthesubmissionof
   falseandfraudulentclaimstohealthcarebenefitprograms;(c)concealingthereceiptofthefraud
   proceeds;and(d)divedingthefraudproceedsfortheirpersonaluseandbenefit,theuseandbenefit
   ofothers,and to f'urtherthe fraud schem e.
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                 M ANN ER AN D M EA N S O F TH E SCH EM E AND AR TIFICE

          Them annerand m eansby which thedefendantand hisaccom plicessoughtto accom plish

   theobjectandpurposeoftheschemeandartificeincluded,amongothers,thefollowing:
          4.     AR M AND O V AIaDES subm itted and caused GasielM edicalServicesto subm it

   false and fraudulentclaimstoUnited in the approximate amountof$33 million forinfusionsof
   lnflixim ab,and other beneits,item s,and services,w hich were m edically unnecessary and not

   provided asrepresented.

                 As a resultof such false and fraudulentclaims,United paid approximately $7
   m illion to GasielM edicalServicesthrough its corporate bank account.

          6.     AR M AND O V AT,DES subm itted and caused GasielM edicalServicesto subm it

   false and fraudulentclaimsto BlueCrossin theapproximateamountof$5 m illion forinfusions
   oflntlixim ab,and other benefits,item s,and services,which w ere m edically unnecessaly and not

   provided as represented.

                 As a result of such false and fraudulent claim s,Blue Cross paid approxim ately

   $800,000toGasielM edicalServicesthrough itscorporatebank account.

          8.     ARM A ND O V AT,DE S and his accom plices used the proceeds of the fraud for

   theirpersonaluse and benefk,the use and benefitofothers,and to f'urtherthe fraud schem e.

                 A CTS IN EXE CUTION O F TH E SCH EG            A ND A RTIFICE

          9.     On or about the dates set forth below ,in M iam i-Dade County,in the Southern

   DistrictofFlorida,andelsewhere,thedefendantdidknowingly andwillfully execute,andattempt

   to execute,the above-described schem e and artifice to defraud a health care beneGtprogram ,in

   that the defendant, through Gasiel M edical Services, caused the subm ission of false and

   fraudulent claim s to U nited and Blue Cross,seeking reim bursem entfor the cost of Inflixim ab
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   infusions,assetforth below :

    çount A1!prox.Dateof Beàenciary ,H::1tllcare tnaim Identigcation Approx.
                                               .
             claxm subm issiow                      Benent      .     Num ber           Am ount
                                                   pro ra'
                                                         m                              claim ed   .

      1        January 6,2017          C.R.         United          629327319001        $12,000
      2        January 9,2017          I.F.         United          629698465001        $12,000
      3        January3l,2017          G.P.         United          633320439401        $12,000
      4        January 4,2018          G.P.         United          689098466301        $12,000
      5         M ay 9,2018            M .C.        United          712524894501        $16,000

      6         July 27,2018            I.F.       BlueCross    11100000684447625       $20,000
      7        M arch 14,2019          C.R.        BlueCross    1-
                                                                 1100000729625830       $20,000
      8         April16,2020           M .C.        United          CA4951251901        $16,000
      9         June 11,2020           V.R.         United          CC3444826201        $16,000
     10         May 17,2021            V.R.         United          CQ9420665101        $20,000

          In violation ofTitle 18,United States Code,Sections 1347 and 2.

                                    FO RFEITITR E AT,LEG ATION S

                  The allegations contained in this Indictm ent are hereby realleged and by this

   reference fully incorporated herein forthe purpose of alleging forfeiture to the United States of

   Am erica ofcertain property in w hich the defendant,AR M AND O V AT,DES,has an interest.

                  Upon conviction of a violation of Title 18,U nited States Code,Section 1347,as

   alleged in this lndictm ent,the defendant shallforfeitto the United States any property,realor

   personal,thatconstitutesoris derived,directly orindirectly,from grossproceedstraceable to the

   commissionofsuchoffense,pursuanttoTitle18,UnitedStatesCode,Section982(a)(7).
          3.      Thepropertysubjecttoforfeitureasaresultoftheallegedoffensesincludes,butis
   notlim ited to,the follow ing:
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              a.    upto and including $408,842.67 inU.S.currency on depositin account
                    num ber6920720460 atW ellsFargo Bank,held in the nam e ofGasiel

                    M edicalServices,Corp.,d/b/a GasielUrgentCare;

              b.    upto and including $897,123.75 inU.S.currency on depositin account
                    num ber7920632119 atW ellsFargo Barlk,held in the nam e ofGasiel

                    M edicalServices,Corp.,d/b/a GasielUrgentCare;

              C.    up to and including $152,869.36 inU.S.currency on depositin account
                    num ber1010201852350 atW ellsFargo B ank,held inthenam e ofA nnando

                    V aldes;

              d.    up to and including $241,792.84 in U.S.currency on depositin account
                    num ber435-8066623 atTD Bank,held in the nam e ofM IHR UrgentCare,

                    Corp.;

                    realproperty located at730 N .O cean Blvd.,#505,Pom panoBeach,Florida

                    33062;

              f.    realproperty located at19302 Elston W ay,Estero,Florida33928;

              g.    realpropelty located at2960N .E.207th Street,//1114,A venm ra,Florida

                    33180;

              h.    realproperties located at3574 and 3566 Lakeview Drive,Sebring,Florida

                    33870,
                         '

              1.    2018W hiteCadillacEscalade,bearingvehicleidentificationnumber(VlN)
                    1GY S3DK J0JR384995;and

                    2016 Tesla Model S, bearing vehicle identification number (V1N)
                    5YJSA 1E28GF175145.



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                Ifanyofthepropertysubjecttoforfeiture,asaresultofany actoromissionofthe
  defendant:

                (a)     cnnnotbelocatedupon theexerciseofduediligence;
                ('
                 b)     hasbeentransferred orsoldto,ordepositedwithathirdparty;
                (c)     hasbeenplacedbeyondthejtuisdiction oftheCourt;
                (d)     hasbeen substantiallydiminishedinvalue;or
                (e)     hasbeen commingledwithotherpropertywhichcannotbesubdivided
                        withoutdifficulty;

  the United States shallbe entitled to the forfeiture ofsubstitm e property underthe provisionsof

  Title21,UnitedStatesCode,Section853û$.Such substitutepropertyincludes,butisnotlimited
  to,realproperty located at 15618 S.W .14th Street,M iam i,Florida,33194.




                        ETHIS SPACE INTENTIONALLY LEFT BLANK)




                                                 7
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                                                                               '                 ' '
                               .                               .           .       .            . '
                                           .                                           ..         .


              AllpursuanttoTitlè18,UnitedStatesCode,Section982(a)(7),andthel
                                                                           ptpceduressetfol'th . ..
         ..                                      .   .             .   -                    .     .
    atTitle21,Unitbd StatesCode,Section 853,ajihcorporatedby Titte 18,Unised StatesCode,

    Section982(b)(1).


                                                     A TRU E BILL



                                                     FOREPERSON




ft/-,7T
      xEA
        oxsTToAI
               sGAoTx
                    Tz
                     oA
                      uc
                       xsszv
              #                    .




    M ICHAEL B .HOM ER
    ASSISTANT UNITED STAYESATTORNEY
  Case 1:21-cr-20590-KMW Document 3 Entered on FLSD Docket 12/08/2021 Page 9 of 10
                                           UNITEbSTATESDISTZ CT629U1G
                                           SOUTIIE/NDISTRILT OFFLORIXA
                                                                                                                                '''
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                                                     .                          . .T
                                                                                   . ,                               . ... .. a; . .

  W TED STATESOFAW W CA                                  CASE NO . .'       -      èc           .            ' . .' .

                                                         CERTIFyCATEOF TRI
                                                                        . ALATTO;NEYx
   ARMANDO VALDES,                                       Sliperseding.
                                                                     ciselnfoqmation:
                Defendant.                  /
     CourtDivision:tselectOne)                           New defendanttsj Yes
    rZ
     '-Miami U-1KeyWest N F'I'L                          Numberofnewdefendants
    N WPB. N FI'     P                                   Totalnumberofcounts
        1.lhavecarefully considered theallegationsoftheindictm ent,thenum berofdefendants,thenum berofproG ble
          wilnessesN d thelegalcom plexitiesoftheIndictment/lnfonnation attachedhereto.
        2.Inm awarethattheinform atiorisupplied onthisstatem entwillbérelied uponby theJudgesofthisCourtin
          setting theircalendarsp dscheduling crim inaltrialsunderthbm afldateoftheSpeedy TrialAct,
           .                                                                                              '
          Title28 U.S.C.Section 3161.
        3.Interpreter:(YesorNo)Yes
          Lis'tlanguageand/ordialect Spaniéh
        4.Thiscasewilltake 4 daysforthepartiesto try.
        5.Ple%echeckappropriatecategoryandtypeofoffenselistedbelow:
               (Checkonlyone)                              (Checkonlyone)
         1 0to5days              I7
                                  d                   Petty             (71
         11 6to10days            E7                   Minor             (71
         1l1 11to20days          (71                  Misdemeanor       IEI
         IV 21to60days           (71                  Felony            rz
         V 61daysandover         (71
        6.HasthiscasepreviouslybeenfiledinthisDistrictCourt? (YesorNo) No
           lfyes:Judge                                   CaseN o.
           (Attachcopyofdispositi
                                veorder)
           Hasacomplaintbeenfiledintlzismatter? (YesorNo) No
           Ifyes:M agistrateCase N o.
           Relatedm iscellaneousnum bers:
           Defendantts)infederalcustodyasof
           Defendantts)instatecustodyasof
           Rule20 from theDistrictof
           lsthisapotentialdeathpenaltycase?(YesorNo) No
        7. Doesthiscase originatefrom am atterpendingin theCentralRegion oftheU .S.Attorney'sOfficepriorto
           August9,2013(M ag.JudgeAlicia0.Valle)?(YesorNo) No
        8. Doesthiscase originatefrom am atlerpending intheNorthern Region oftheU.S.Attorney'sOffice priorto
           August8,2014(M ag.JudgeShaniekMaynard?(YesorNo) No
        9. Doesthiscase originatefrom am atterpending intheCentralRegion oftheU .S.Attorney'
                                                                                           sOfficepriorto
           October3,2019(M ag.JudgeJaredStrauss)?(YesorNo) No



                                                                      M ichaelB.Hom er
                                                                      AssistantUnited StatesAttorney
                                                                      CourtID No.        A5502497
*penaltySheetts)attachd                                                                                REV 3/19/21
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                               UNITED STATES DISTRICT COIJRT
                               SOUTH ERN DISTRICT OF FLDRIDA

                                      PEN ALTY SH EET

  Defendant'sNam e:                O VALDVS                     .
  Case N o:

  Cotmts#:1-10

  H ealth Care Fraud           .

  'T(t1e18,UnitedStatesCode.Secti'
                                 on1347
                           '
                       .

  *M ax.Penalty:Ten(10)YearsImprisonmentpervount
   frR efers only to possible term ofincarceration,doesnotinclude'possible fm es,restitution,
                                                         .

             specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
